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 4                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WASHINGTON
 5
     UNITED STATES OF AMERICA,              )
                                            )
 6               Plaintiff,                 )          NO. CR-11-181-WFN-5
                                            )
 7   vs.                                    )          ORDER GRANTING JOINT MOTION
                                            )          AND STIPULATION TO AMEND
     ALETHEA C. SIBBETT,                    )          CONDITIONS OF RELEASE
 8
                                            )
                 Defendant.                 )
 9   _______________________________________)

10
            Before the Court is Defendant’s Joint Motion and Stipulation to Amend Conditions of
11 Release, (ECF 480), whereby Defendant requests to amend the previously filed conditions of

12 release to allow Mrs. Alethea C. Sibbett to communicate with her husband, Mr. Clayton Sibbett,

13 through written correspondence regarding family matters.
            IT IS HEREBY ORDERED, that the Joint Motion and Stipulation to Amend Conditions
14
     of Release, (ECF 480), filed by the Defendant be, and the same is hereby, GRANTED.
15
            DATED July 20, 2012.
16
                                   S/ CYNTHIA IMBROGNO
                             UNITED STATES MAGISTRATE JUDGE
17

18
     ORDER GRANTING JOINT MOTION AND STIPULATION
19 TO AMEND CONDITIONS OF RELEASE - 1
